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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
                      Plaintiff,      )       ORDER DENYING MOTION FOR
                                      )       RECONSIDERATION
       vs.                            )
                                      )
Dajanique Nche Marshall,              )       Case No. 1:20-cr-068
                                      )
                      Defendant.      )

       On September, 21, 2020 the Court convened a hearing on a petition to revoke Defendant’s

pretrial release. For the reasons articulated on the record, including Defendant’s admission of a

violation of her conditions and her recent behavior such as dishonesty to a United States Probation

Officer, the Court revoked Defendant’s pretrial release pursuant to 18 U.S.C. § 3148(b).

       On November 4, 2020, Defendant filed a pro se motion requesting the Court to reconsider

its order revoking her pretrial release. The Court finds there has been no material change in

circumstances to warrant reconsideration of its previous order. Defendant’s motion (Doc. No. 472)

is therefore DENIED. Defendant should take heed that the Court is not obligated to entertain pro

se motions that are filed by a represented party. See United States v. Pate, 754 F.3d 550, 553 (8th

Cir. 2014); Abdullah v. United States, 240 F.3d 683, 686 (8th Cir. 2001). Defendant is represented

by counsel. Thus, she should rely on counsel to file motions on her behalf.

       IT IS SO ORDERED.

       Dated this 17th day of November, 2020.


                                                     /s/ Clare R. Hochhalter
                                                     Clare R. Hochhalter, Magistrate Judge
                                                     United States District Court
